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                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

 In re:                                            )     Chapter 11
                                                   )
 MIDWEST BANC HOLDINGS, INC.,                      )     Case No. 10-37319
                                                   )
                  Debtor.                          )     Hearing Date: December 29, 2010 at 9:30a.m.
                                                   )
                                                   )

  NOTICE OF THE FIRST APPLICATION OF HINSHAW & CULBERTSON LLP FOR
     ALLOWANCE OF ADMINISTRATIVE CLAIM FOR COMPENSATION AND
  REIMBURSEMENT OF EXPENSES FOR THE INTERIM PERIOD AUGUST 20, 2010
                      THROUGH NOVEMBER 15, 2010


          PLEASE TAKE NOTICE that on December 7, 2010, the First Application of
          Hinshaw & Culbertson LLP for Allowance of Administrative Claim for
          Compensation and Reimbursement of Expenses for the Interim Period
          August 20, 2010 through November 15, 2010 (the Application ) was filed by
          Hinshaw & Culbertson LLP ( H&C ) with the United States Bankruptcy Court
          for the Northern District of Illinois, Eastern Division, 219 South Dearborn,
          Chicago, IL 60604.

          PLEASE TAKE FURTHER NOTICE that for the interim period August 20,
          2010 through November 15, 2010, H&C seeks interim allowance of fees in the
          amount of $189,122.15 and expenses in the amount of $9,349.97.

          PLEASE TAKE FURTHER NOTICE that if no objection is filed, the
          Application may be granted in accordance with the Order Establishing
          Procedures for Interim Compensation and Reimbursement of Professionals and
          Committee Members dated November 22, 2010 (Docket No. 65].

Dated: December 7, 2010.                        HINSHAW & CULBERTSON LLP


                                         By:    /s/ William J. Connelly
                                                William J. Connelly(6185201)
                                                222 N. LaSalle Street
                                                Suite 300
                                                Chicago, IL 60601-1081
                                                Phone: 312-704-3000
                                                Fax: 312-704-3001
                                                Counsel to the Debtor and Debtor in Possession


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Dated: December 7, 2010.                        HINSHAW & CULBERTSON LLP


                                         By:    /s/ Thomas G. Wallrich
                                                Thomas G. Wallrich (MN State Bar ID 213354)
                                                Joel D. Nesset (MN State Bar ID 030475X)
                                                333 South Seventh Street
                                                Suite 2000
                                                Minneapolis, MN 55402
                                                Phone: 612-333-3434
                                                Fax: 612-334-8888

                                                Counsel to the Debtor and Debtor in Possession




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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

In re:                                            )      Chapter 11
                                                  )
MIDWEST BANC HOLDINGS, INC.,                      )      Case No. 10-37319
                                                  )
                 Debtor.                          )      Hearing Date: December 29, 2010 at 9:30a.m.
                                                  )
                                                  )

 COVER SHEET FOR THE FIRST APPLICATION OF HINSHAW & CULBERTSON
  LLP FOR ALLOWANCE OF ADMINISTRATIVE CLAIM FOR COMPENSATION
 AND REIMBURSEMENT OF EXPENSES FOR THE INTERIM PERIOD AUGUST 20,
                 2010 THROUGH NOVEMBER 15, 2010

                 Name of Applicant                            Hinshaw & Culbertson LLP

Authorized to provide professional services to:       Midwest Banc Holdings, Inc. Debtor and
                                                      Debtor in Possession

Date of retention:                                    Order retaining Hinshaw & Culbertson LLP
                                                      nunc pro tunc entered on October 7, 2010
                                                      [Docket No. 35]

Period for which compensation                 and August 20, 2010 through November 15, 2010
reimbursement is sought:

Amount of compensation sought as actual, $189,122.15
reasonable and necessary:

This is a X interim __ final application.

No prior fee application has been filed.




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Dated: December 7, 2010.                        HINSHAW & CULBERTSON LLP


                                         By:    /s/ William J. Connelly
                                                William J. Connelly(6185201)
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                                                Suite 300
                                                Chicago, IL 60601-1081
                                                Phone: 312-704-3000
                                                Fax: 312-704-3001
                                                Counsel to the Debtor and Debtor in Possession



Dated: December 7, 2010.                        HINSHAW & CULBERTSON LLP


                                         By:    /s/ Thomas G. Wallrich
                                                Thomas G. Wallrich (MN State Bar ID 213354)
                                                Joel D. Nesset (MN State Bar ID 030475X)
                                                333 South Seventh Street
                                                Suite 2000
                                                Minneapolis, MN 55402
                                                Phone: 612-333-3434
                                                Fax: 612-334-8888

                                                Counsel to the Debtor and Debtor in Possession




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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

In re:                                            )    Chapter 11
                                                  )
MIDWEST BANC HOLDINGS, INC.,                      )    Case No. 10-37319
                                                  )
                 Debtor.                          )    Hearing Date: December 29, 2010 at 9:30a.m.
                                                  )
                                                  )

FIRST APPLICATION OF HINSHAW & CULBERTSON LLP FOR ALLOWANCE OF
 ADMINISTRATIVE CLAIM FOR COMPENSATION AND REIMBURSEMENT OF
          EXPENSES FOR THE INTERIM PERIOD AUGUST 20, 2010
                    THROUGH NOVEMBER 15, 2010



         Pursuant to 11 U.S.C. §§ 327, 330 and 331; Rule 2016 of the Federal Rules of

Bankruptcy Procedure (the Bankruptcy Rules ); the Retention Order (defined below); the Order

Establishing Procedures for Interim Compensation and Reimbursement of Expenses for

Professionals and Official Committee Members (the Interim Compensation Order ) [Docket

No. 65]; the local bankruptcy rules for the United States Bankruptcy Court for the Northern

District of Illinois (the Local Bankruptcy Rules ) and the United States Trustee Guidelines for

Reviewing Applications for Compensation and Reimbursement of Expenses Filed under 11

U.S.C. § 330 (the U.S. Trustee Guidelines ), the law firm of Hinshaw & Culbertson LLP

  H&C ), bankruptcy counsel for the above-captioned debtor and debtor in possession (the

 Debtor ), hereby applies (this Application ) for an order allowing it: (a) compensation in the

amount of $189,122.15 for the reasonable and necessary legal services H&C has rendered to the

Debtor; and (b) reimbursement for the actual and necessary expenses that H&C incurred in the




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amount of $9,349.97 for the period from August 20, 2010 through November 15, 2010 (the Fee

Period ).1 In support of this Application, H&C states as follows.

                                     JURISDICTION AND VENUE

1.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157 and 1334. This

matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

2.       Venue in this District if proper pursuant to 28 U.S.C. §§ 1408 and 1409.

3.       The statutory bases for the relief requested herein are 327, 330 and 331 of title 11 of the

United States Code, 11 U.S.C. §§ 101-1532 (the Bankruptcy Code ), Bankruptcy Rule 2016,

and Local Bankruptcy Rule 5082-1.

                                             BACKGROUND

4.       On August 20, 2010 (the Petition Date ), the Debtor filed a voluntary petition with this

Court under chapter 11 of the Bankruptcy Code. The Debtor is operating its business and

managing its property as a debtor in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. On September 29, 2010, the United States Trustee for the Northern District of

Illinois (the U.S. Trustee ) appointed an official committee of unsecured creditors pursuant to

section 1102 of the Bankruptcy Code (the Committee ) [Docket No. 25]. On October 12, 2010,

the United States Trustee for the Northern District of Illinois (the U.S. Trustee ) filed an

amended notice of appointment of an official committee of unsecured creditors pursuant to

section 1102 of the Bankruptcy Code (the Committee ) [Docket No. 38].




1
  Pursuant to section (b)(1)(v) of the U.S. Trustee Guidelines, the Debtor has had an opportunity to review and
approve the request for compensation and reimbursement for the actual and necessary expenses sought herein.
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      RETENTION OF AND CONTINUING DISINTERESTEDNESS OF HINSHAW &
                           CULBERTSON LLP

5.       By this Court s order dated October 6, 2010,2 the Debtor was authorized to retain H&C as

bankruptcy counsel effective as of the Petition Date (the Retention Order ). The Retention

Order authorizes the Debtor to compensate H&C in accordance with the procedures set forth in

the applicable provisions of the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure

(the Bankruptcy Rules ), the Local Rules, the U.S. Trustee Guidelines and any applicable

orders of this Court.

6.       As disclosed in the Declaration of Roberto R. Herencia in Support of the Application of

the Debtor for Entry of an Order Authorizing the Employment and Retention of Hinshaw &

Culbertson LLP as Attorneys for the Debtor and Debtor in Possession Nunc Pro Tunc to the

Petition Date [Docket 10] (the Herencia Declaration ), filed on August 27, 2010 H&C does not

hold or represent any interest adverse to the Debtor s estate and is a disinterested person as that

term is defined in section 101(14) of the Bankruptcy Code.

7.       H&C may have in the past represented, may currently represent and likely in the future

will represent parties in interest in connection with matters unrelated to the Debtor in this chapter

11 case. In the Herencia Declaration, H&C disclosed its connections to parties in interest that it

has been able to ascertain using its reasonable efforts.             H&C will update the Herencia

Declaration, as necessary, if H&C becomes aware of relevant and material new information.

8.       H&C performed the services for which it is seeking compensation on behalf of or for the

Debtor and its estate and not on behalf of any committee, creditor or other person.




2
 See Order Granting the Employment and Retention of Hinshaw & Culbertson LLP as Attorneys by the Debtor and
Debtor in Possession Nunc Pro Tunc to the Petition Date [Docket No. 35].
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9.       Except as provided herein or in the application to retain H&C, H&C has received no

payment and no promises for payment from any source other than the Debtor for services

rendered or to be rendered in any capacity whatsoever in connection with this chapter 11 case.

10.      H&C has not shared, nor has H&C agreed to share: (a) any compensation it received or

may receive with another person other than with the partners, counsel and associates of H&C; or

(b) any compensation another person or party has received or may receive.

       REASONABLE AND NECESSARY SERVICES RENDERED BY HINSHAW &
                     CULBERTSON LLP- GENERALLY
11.      This is the first application for interim compensation that H&C has filed with the Court in

this chapter 11 case.

12.      The H&C attorneys who rendered professional services during this Fee Period are:

Attorney           Position          Year     Department Hourly         Total        Total
                   with the          Admitted            Billing        Billed       Compensation
                   Applicant                             Rate           Hours

Edward R.          Partner           1980     Insurance     $350.00     .20          $70.00
Gower

Thomas M.          Partner           1971     Insurance     $330.00     3.50         $1,155.00
Hamilton, Jr.

Michael D.         Partner           1985     Securities    $276.00     .50          $138.00
Morehead

Steven H.          Partner           1995     Bankruptcy    $385.00     13.30        $5,120.50
Silton                                        & Creditors
                                              Rights

Thomas G.          Partner           1990     Bankruptcy    $435.00     126.0        $54,810.00
Wallrich                                      & Creditors
                                              Rights

Peter L.           Associate         1991     Labor &    $270.00        .60          $162.00
Crema, Jr.                                    Employment

Heather L.         Partner           2002     Director &    $220.00     2.30         $506.00
Marx                                          Officer
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                                                 Liability

Joel D.            Associate         2000        Bankruptcy     $245.00    145.8       $35,721.00
Nesset                                           & Creditors
                                                 Rights

Kent J.            Partner           1993        Insurance      $270.00    4.00        $1,080.00
Cummings

Timothy M.         Partner           1975        Business & $400.00        46.4        $18,560.00
Sullivan                                         Commercial
                                                 Transactions $410.00      .3          $123.00

William J.         Partner           1983        Bankruptcy     $425.00    30.8        $13,090.00
Connelly                                         & Creditors
                                                 Rights

Fritz K.           Partner           1981        Insurance      $350.00    .20         $70.00
Huszagh

James D.           Partner           1980        Employee       $499.00    30.75       $15,344.25
Harbert                                          Benefits

Lisa M.            Partner           1989        Employee       $428.00    73.55       $31,479.40
Burman                                           Benefits

13.       The H&C paraprofessionals who have rendered professional services during the Fee

Period are:

Paraprofessional Position              Number Department Hourly             Total      Total
                 with the              of Years           Billing           Billed     Compensation
                 Applicant             in the             Rate              Hours
                                       Position
Amy E. Kulbeik          Paralegal      3 Years Bankruptcy $110.00           74.5       $8,195.00

Joanne Pepe             Paralegal      5 Years     Litigation    $120.00    27.4       $3,288.00

Frank T.                                                         $175.00    1.2        $210.00
Heiberger

14.       H&C has advised and represented the Debtor in connection with the operation of its

business and all other matters arising in the performance of its duties as debtor in possession.

Furthermore, H&C prepared various pleadings, motions and other documents submitted to this

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Court for consideration, has appeared before this Court during omnibus and other hearings

regarding this chapter 11 case, and has performed all of the other professional services that are

described in this Application.

15.     The rates described above are H&C s hourly rates for services of this type. The attached

Exhibit A is a summary statement of the number of hours of service by each attorney and

paraprofessional and hourly rate of each individual during the Fee Period. The attached Exhibit

B is the detailed itemization and description of the services that H&C rendered during the Fee

Period. Based on these rates and the services performed by each individual during the Fee

Period, the total reasonable value of such services rendered during the Fee Period is $189,122.15.

The H&C attorneys and paraprofessionals expended a total of 581.3 hours working on this

chapter 11 case during the Fee Period.

16.     In accordance with the factors enumerated in section 330 of the Bankruptcy Code, the

amount of fees requested is fair and reasonable given, among other things: (a) the complexity of

this chapter 11 case; (b) the time expended; (c) the nature and extent of the services rendered; (d)

the value of such services; and (e) the costs of comparable services other than in a case under the

Bankruptcy Code.

17.     Further, Exhibit B: (a) identifies the individuals that rendered services in each Subject

Matter (as defined below); (b) describes each activity or service that each individual performed;

and (c) states the number of hours (in increments of one-tenth of an hour) spent by each

individual providing the services. Each matter number in Exhibit B corresponds to the matter

number that H&C assigned to the Subject Matters (as defined and described below). If a Subject

Matter does not appear, then H&C did not bill time or expenses for that Subject Matter during




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the Fee Period but may bill time for that Subject Matter in the future. The attached Exhibit C is a

schedule of the total amount of fees incurred under each Subject Matter during the Fee Period.

      REASONABLE AND NECESSARY SERVICES RENDERED BY HINSHAW &
              CULBERTSON LLP-CATEGORIZED BY MATTER
18.     The professional services that H&C rendered during the Fee Period are grouped into the

numbered and titled categories of the subject matters (each a Subject Matter and, collectively,

the Subject Matters ) described herein.

19.     Matter 1      Chapter 11 Bankruptcy filing (Fees: $21,601.50); Hours: 101.7). This Subject

Matter includes legal services provided in connection with filing the Debtor s chapter 11 petition

and related pleadings and notices in the initial days of this chapter 11 case. Specifically and

without limitation, H&C attorneys and paraprofessionals performed services including, but not

limited to: (a) drafting, revising and filing the application to employ and amended application to

employ; (b) drafting, preparing and filing a chapter 11 petition for the Debtor; (c) drafting,

revising and filing the Motion for Relief from Requirement that Debtor File List of Equity

Security Holders, Pro Hac Vice Motions, and Declaration of Roberto Herencia; and (d)

preparation and filing of the Debtor s schedules of assets and liabilities, statement of financial

affairs, and amended list of equity security holders.

20.     Matter 2       Employee Benefit Matters (Fees: $14,644.55; Hours: 34.9). This Subject

Matter relates to time with regard to 401(K) plan termination. This Subject matter also describes

time spent analyzing, researching, and advising the Debtor with respect to 401(k) administration

and management.

21.     Matter 3      General Case Administration (Fees: $26,165.00; Hours: 92.0). This Subject

Matter includes legal services related to general administration of the chapter 11 case and

includes: (a) assisting the Debtor in fulfilling its duties as debtor in possession generally; (b)

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preparation for and attendance at the meeting of creditors; and (c) ensuring compliance with the

requirements of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, orders of this

Court and other applicable laws.

22.     Matter 4 Claims Administration and Objections. (Fees: $4,197.50; Hours: 14.2). This

Subject Matter includes legal services related to the administration and resolution of claims

against the Debtor. In particular, this Subject Matter includes time spent: (a) drafting and filing

the Debtor s motion to establish bar dates in connection with the filing of proofs of claim (the

 Bar Date Motion ) [Docket No. 58]; (b) reviewing and analyzing potential litigation claims and

finding issues; (c) researching and analyzing issues relating to the claims implications of the

Debtor s supplemental executive retirement plans (the SERP ); and (d) communications with

the FDIC; and (f) corresponding with certain creditors with respect to the foregoing.

23.     Matter 5 Unsecured Creditor Committee (Fees: $9,062.50; Hours: 27.4). This           Subject

Matter includes legal services related to production of documents to unsecured creditor

committee and communications with unsecured creditor committee. This Subject Matter also

includes meeting with unsecured creditor committee.

24.     Matter 6      Corporate and Securities Matters (Fees:   $18,256.00; Hours:      47.0).   This

Subject Matter includes legal services related to various corporate and securities issues.

Specifically, H&C attorneys spent time: (a) ensuring compliance with reporting requirements,

including those under federal securities laws and regulations; (b) preparing and reviewing board

minutes; (c) preparing for and attending board meetings; and (d) review of director and officer

claim issues.

25.     Matter 7      Creditors Communications/Negotiations (Fees: $3,276.00; Hours: 7.8). This

Subject Matter includes legal services related to creditor communications, including:              (a)


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responding to questions from various creditors; and (b) communications and negotiations with

the Debtor s major secured creditor; and (c) communications related to the formation of the

creditors committee.

26.     Matter 8      401(k) Plan      Department of Labor Investigation (Fees: $38,919.10; Hours:

106.8). This Subject Matter includes legal services related to an investigation of the Debtor s

401(k) plan that is being conducted by the Department of Labor.

27.     Matter 9      Hearings (Fees: $8,840.00; Hours: 23.2). This Subject Matter includes legal

services related to the preparation for and attendance at hearings.

28.     Matter 10       Plan, Disclosure Statements (Fees: $42,149.50; Hours: 115.1). This Subject

Matter includes legal services related to the Debtor s disclosure statement and plan of

reorganization. H&C performed services, including: (a) developing strategies in connection

with the formation of the Debtor s plan of reorganization (the Plan ); (b) drafting and revising

the Debtor s Plan; (c) researching and analyzing issues relating to treatment of various classes of

creditors; (d) researching and analyzing contracts, public filings, financial statements, and other

historical information relating to the Debtor s disclosure statement; (f) drafting the Debtor s

disclosure statement; and (g) communicating with client and creditors with respect to the

foregoing.

29.     Matter 11       Fee Application (Fees: $660.00; Hours: 6.0). This Subject Matter includes

legal services related to the preparation of this application for compensation.

30.     Matter 12           U.S. Trustee Matters (Fees: $713.50; Hours: 2.6). This Subject Matter

includes legal services related to compliance with requirements imposed by the U.S. Trustee,

including: (a) reviewing and            analyzing financial reporting requirements and operating




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guidelines; and (b) communicating and participating in conferences with the U.S. Trustee and the

Debtor with respect to the foregoing.

31.     Matter 13           Research/Analysis (Fees:    $637.00; Hours: 2.6).   This Subject Matter

includes legal services related to researching grantor trust rules and fiduciary insurance issues

and administrative expense status of costs related to 401(k) administration and management.

                               ACTUAL AND NECESSARY EXPENSES

32.     It is H&C s policy to charge its clients in all areas of practice for identifiable, non-

overhead expenses incurred in connection with the client s case that would not have been

incurred except for representation of that particular client. It is also H&C s policy to charge its

clients only the amount actually incurred by H&C in connection wit such items. Examples of

such expenses are postage, overnight mail, courier delivery, transportation, computer-assisted

legal research, photocopying, airfare, meals and lodging.

33.     A summary of expenses by type, as well as a detailed itemization and description of the

disbursements made by H&C on the Debtor s behalf during the Fee Period, is attached hereto as

Exhibit D. All of these disbursements comprise the requested sum of H&C s out-of-pocket

expenses and total $9,349.97.

                                          REPRESENTATION

34.     H&C has made a good faith effort to include all fees and expenses incurred in the Fee

Period, but it cannot be certain that all such fees and expenses are included in this Application

due to accounting practices. H&C reserves the right to make further application to this Court for

allowance of such fees and expenses not included herein. Subsequent fee applications will be

filed in accordance with the Bankruptcy Code, the Bankruptcy Rules, the Local Bankruptcy

Rules, and the Interim Compensation Order.

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35.     In summary, by this Application, H&C requests allowance of fees and expenses in the

total amount of $198,472.12, consisting of: (a) $189,122.15, of the fees incurred by the Debtor

for reasonable and necessary professional services rendered by H&C; and (b) $9,349.97 for

actual and necessary costs and expenses.

WHEREFORE, H&C requests that it be allowed reimbursement for its fees and expenses

incurred during the Fee Period and that such fees and expenses be paid as administrative

expenses of the estate.



Dated: December 7, 2010.                       HINSHAW & CULBERTSON LLP


                                        By:    /s/ William J. Connelly
                                               William J. Connelly(6185201)
                                               222 N. LaSalle Street
                                               Suite 300
                                               Chicago, IL 60601-1081
                                               Phone: 312-704-3000
                                               Fax: 312-704-3001
                                               Counsel to the Debtor and Debtor in Possession



Dated: December 7, 2010.                       HINSHAW & CULBERTSON LLP


                                        By:    /s/ Thomas G. Wallrich
                                               Thomas G. Wallrich (MN State Bar ID 213354)
                                               Joel D. Nesset (MN State Bar ID 030475X)
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                                               Counsel to the Debtor and Debtor in Possession




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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

In re:                                                )    Chapter 11
                                                      )
MIDWEST BANC HOLDINGS, INC.,                          )    Case No. 10-37319
                                                      )
                 Debtor.                              )    Hearing Date: December 29, 2010 at 9:30a.m.
                                                      )
                                                      )


STATE OF MINNESOTA                       )
                                         )      ss:
COUNTY OF HENNEPIN                       )


                                             DECLARATION

         Thomas G. Wallrich, hereby declares the following under penalty of perjury:

1.       I am a partner with the applicant firm, Hinshaw & Culbertson LLP, and have been

admitted to the Bar of the Supreme Court of Minnesota since 1990.

2.       I have personally performed certain of the legal services rendered by Hinshaw &

Culbertson LLP as general bankruptcy counsel to the Debtor and am familiar with other work

performed on behalf of the Debtor by the lawyers and other persons in the firm.

3.       The facts set forth in the foregoing Application are true and correct to the best of my

knowledge, information and belief.

                                                          /s/ Thomas G. Wallrich
                                                          Hinshaw & Culbertson LLP




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